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™ CRC/ICC: USAO 2021R00263

     

IN THE UNITED STATES DISTRICT COURT .-- 5 > >: 5}
FOR THE DISTRICT OF MARYLAND’! ©
UNITED STATES OF AMERICA 4
v. x CRIMINAL NO. & odie,
BRIAN MCQUADE, x (Wire Fraud, 18 U.S.C. § 1343;
* Forfeiture, 18 U.S.C. § 981(a)(1)(C),
Defendant * 21 U.S.C. § 853(p), 28 U.S.C. § 2461)

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INDICTMENT

COUNTS ONE AND TWO
(Wire Fraud)

The Grand Jury for the District of Maryland charges that:
Introduction
At all times relevant to this Indictment:
1. Defendant BRIAN MCQUADE (“MCQUADE”) was a resident of Chevy

Chase, Maryland.

2. The Foundation was a Maryland non-profit organization that provided services to

combat and wounded military veterans.

3. Accounting Firm A was an accounting firm based in Washington, D.C.

4. Financial Institution | was a federally insured financial institution with branches
throughout Maryland.

5. Financial Institution 2 was a federally insured financial institution with branches

throughout the United States, including in Maryland.
The Scheme to Defraud

6. Between in or around June 2018 and continuing until at least in or around August
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2021, MCQUADE devised and intended to devise a scheme and artifice to defraud the
Foundation, and to obtain money and property from the Foundation by means of materially false
and fraudulent pretenses, representations, and promises, with the intent to defraud and with
knowledge of the scheme’s fraudulent nature (“the scheme to defraud”).
Manner and Means of the Scheme to Defraud

It was part of the scheme to defraud that:

7. From at least in or about June 2018 to at least in or around August 2021,
MCQUADE held himself out as an investment adviser to clients, including the Foundation.

8. MCQUADE made false and fraudulent representations to induce clients,
including the Foundation, to send MCQUADE funds for the purpose of investing.
MCQUADE falsely represented that he would open and manage investment accounts on behalf
of clients. In reality, MCQUADE misappropriated the funds provided by clients, including the
Foundation, for personal use.

The Foundation’s Investment with MCQUADE

 

9. MCQUADE represented to the Foundation and its principals that he was
affiliated with Accounting Firm A, which the Foundation hired to assist with accounting work
and tax preparation in or around March 2018. MCQUADE solicited the Foundation and its
principals to engage MCQUADE as an investment advisor to manage and invest funds on behalf
of the Foundation.

10. In discussions with the Foundation about this investment, MCQUADE
represented that he worked as an investment adviser through an entity called Columbia Financial
Advisors, LLP (“Columbia Financial”). MCQUADE further represented that Columbia

Financial was affiliated with an established accounting firm, Accounting Firm A.
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Il. Specifically, MCQUADE represented to the Foundation and its principals that
Columbia Financial was the investment advisory arm of Accounting Firm A. MCQUADE met
with employees of the Foundation at Accounting Firm A’s offices in Washington, D.C.

12. MCQUADE told the Foundation that he would place the Foundation’s funds in a
brokerage account that MCQUADE would manage on behalf of the Foundation.

13. On or about April 29, 2019, MCQUADE sent a document titled “Investment
Advisory Agreement” to the principal of the Foundation, which was on letterhead for Columbia
Financial that listed Columbia Financial as “Registered Investment Advisers.” The document
described Columbia Financial as “‘an investment advisor registered with the Securities and
Exchange Commission under the Investment Advisors Act of 1940” and contained signature
lines for both Columbia Financial and the Foundation.

14. On or about May 30, 2019, MCQUADE sent an email to the employee of the
Foundation, notifying him that MCQUADE had completed the brokerage account application to
set up the brokerage account for the Foundation.

15. Inor around June 2019, MCQUADE sent the brokerage application to the
Foundation’s employee for signature. The employee signed the application and returned it to
MCQUADE via email on or about June 21, 2019.

16. On or about June 21, 2019, MCQUADE caused the Foundation to initiate a wire
in the amount of $750,000 from the Foundation’s account at Financial Institution 1 to an account
in the name of Columbia Financial at Financial Institution 2 ending in x3567 (“Columbia
Financial Account x3567”) in order for MCQUADE to invest and manage the funds on behalf of
the Foundation.

17. MCQUADE was the authorized user and signatory on Columbia Financial
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Account x3567.

MCQUADE Misappropriates the Foundation’s Funds

 

18. Despite promising to open a brokerage account on behalf of the Foundation and
providing an application for the brokerage account, MCQUADE did not open a brokerage
account in the name of or on behalf of the Foundation.

19, Instead, after the Foundation wired $750,000 to Columbia Financial Account

x3567, MCQUADE misappropriated the funds for personal use and benefit. Specifically,

MCQUADE:
a. transferred and caused to be transferred funds from Columbia Financial
Account x3567 to his personal accounts, including a personal bank
account at Financial Institution 2 ending in x6985 (“MCQUADE Personal
Account x6985”); and
b. used and caused to be used funds in both Columbia Financial Account

x3567 and MCQUADE Personal Account x6985 for personal gain,
including spending on restaurants, country club dues, luxury car payments,
mortgages, and other personal items.

20. After misappropriating the Foundation’s funds, MCQUADE continued to make
fraudulent misrepresentations to the Foundation about their investment. In or around August
2020, MCQUADE provided to the Foundation a fabricated account statement to create the false
appearance that the Foundation’s funds were held in an investment account for the benefit of the
Foundation.

Dds In or around December 2020, despite requests from the Foundation, MCQUADE

failed to return the Foundation’s funds in response to the Foundation’s request to cash out its
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investment.
22. Asa result of the scheme, the Foundation suffered losses of approximately
$750,000.
The Charges
23. Onor about the dates listed below, in the District of Maryland and elsewhere, the
defendant,

BRIAN MCQUADE.
for the purpose of executing and attempting to execute the scheme to defraud, did knowingly
transmit and cause to be transmitted by means of wire communication, in interstate and foreign

commerce, writings, signs, signals, pictures, and sounds, as set forth below:

 

Count | Approximate Date Description of Interstate Wire

 

Interstate wire transmission caused by email from
1 May 30, 2019 MCQUADE, through servers outside of Maryland, to
principal of the Foundation in Maryland.

 

Interstate wire transmission caused by transfer of $750,000,
from the Foundation’s account at Financial Institution | in
Maryland, through servers outside of Maryland, to Columbia
Financial Account x3567 at Financial Institution 2.

2 June 21, 2019

 

 

 

 

 

18 U.S.C. § 1343

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FORFEITURE ALLEGATION
The Grand Jury for the District of Maryland further finds that:
l. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with
18 U.S.C. § 981(a)(1)(c) and 28 U.S.C. § 2461(c), in the event of the defendant’s convictions on
any of the offenses charged in Counts One through Two of this Indictment.

Wire Fraud Forfeiture

Pa Upon conviction of the offenses set forth in Counts One and Two of this
Indictment, the defendant,

BRIAN MCQUADE,

shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),
any property, real or personal, constituting or derived from proceeds traceable to the offenses,
including, but not limited to, a money judgment of at least $750,000 in U.S. currency equal to the
total proceeds obtain by the defendant as the result of his offenses.
Substitute Assets
3 If, as a result of any act or omission of any defendant, any of the property

described above as being subject to forfeiture:

a. cannot be located upon exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;
é. has been placed beyond the jurisdiction of the Court:

d. has been substantially diminished in value; or

é. has been commingled with other property which cannot be divided

without difficulty,

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.
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§ 2461(c), to seek forfeiture of any other property of said defendant up to the value of the

forfeitable property described above.

18 U.S.C. § 981(a)(1)(C)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

Oytnet vn cto dy LOA eee

Jéfathan F. Lenzner
Acting United States Attorney

A TRUE BILL:

SIGNATURE REDACTED Date: 2 S2P772@R/
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